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                                                                                    FILED
                                                                        John E. Triplett, Clerk of Court
                                                                          United States District Court

                                                                     By jburrell at 3:05 pm, May 31, 2022

                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

UNITED STATES OF AMERICA                   ) INFORMATION NO.               4:22cr-81
                                           )
              v.                           ) 18 U.S.C. § 1343
                                           ) Wire Fraud
WILLIE CRAFT                               )



THE UNITED STATES ATTORNEY CHARGES THAT:

                                  COUNT ONE
                         Conspiracy to Commit Wire Fraud
                                 18 U.S.C. § 1349

      1.     Beginning in or about July 2020 and continuing through in or about

June 2021, within the Southern District of Georgia, Western District of Texas, and

elsewhere, the defendant,

                                  WILLIE CRAFT,

did knowingly and willfully combine, conspire, confederate, and agree with

Coconspirator 1 (“CC-1”) to devise or intend to devise a scheme or artifice to defraud,

and for obtaining money or property by means of false or fraudulent pretenses,

representations, or promises, and to transmit or cause to be transmitted by wire

communication in interstate commerce any writings, signs, signals, pictures, or

sounds for the purpose of executing such scheme or artifice, in violation of 18 U.S.C.

§ 1343, the conspiracy to commit such offense being in violation of 18 U.S.C. § 1349.

      2.     The object of the conspiracy was for Defendant and CC-1 to unjustly

enrich themselves by making false statements in Economic Injury Disaster Loan
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(“EIDL”) applications submitted electronically to the United States Small Business

Administration (“SBA”) and in loan applications electronically submitted to lenders

through the Payroll Protection Program (“PPP”) to unlawfully induce the SBA and

lenders to dispense money and funds to Defendant to which he was not entitled, and

Defendant, in turn, would pay a portion of the ill-gotten funds to CC-1 as a kickback.

      3.     In furtherance of this scheme, and to effect the objects thereof, the

following acts were committed in furtherance of the conspiracy:

             a.    It was part of the conspiracy that between in or about July 2020,

Defendant and CC-1 utilized cellular devices and the internet to create fraudulent

EIDL and PPP applications.          Defendant provided his personal identifying

information to CC-1, who in turn, would use the internet to create fraudulent EIDL

and PPP applications. In particular, the conspirators caused to be submitted a

fraudulent EIDL application in July 2020 to the SBA, which in turn, by means of wire

communication originating outside the States of Georgia and Texas, deposited $7,500

into Defendant’s bank account on July 20, 2020. In exchange for CC-1 completing the

fraudulent EIDL application, Defendant agreed to pay and, on July 21, 2020, did pay

$3,000 to CC-1 by electronic bank transfer.

             b.    Thereafter, the conspirators caused to be submitted a fraudulent

PPP bank loan application with Lendistry SBLC, LLC in Defendant’s name that

falsely represented Defendant had a business called “WLC Digital Ventures”

established on January 1, 2019, and that such business had $98,400 in gross income

for tax year 2020, when in truth and fact, as Defendant and CC-1 both knew,




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Defendant did not have a business established on such date, nor did he have a

business with such reported income. In support of the fraudulent application, CC-1

caused to be submitted a false and fraudulent IRS Schedule C form.

      4.     In reliance on false representations made in the PPP application,

Lendistry SBLC, LLC, by means of wire communication, deposited $20,500 into

Defendant’s bank account on or around June 7, 2021.           In exchange for CC-1

completing the fraudulent PPP loan application, Defendant agreed to pay CC-1 and,

on June 11 and June 14, 2021, did pay CC-1 a total of $7,500, which was transmitted

by electronic bank transfer.

      All done in violation of Title 18, United States Code, Section 1349.




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